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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 KATHY BARNETTE, individually and as a           :
 candidate for Pennsylvania’s 4th Congressional  :
 District and on behalf of all citizen electors of
                                                 : Civil Action No. 2:20-cv-05477
 Berks County, Pennsylvania, et al.              :
                                                 :
                                Plaintiffs,      :
             v.                                  :
                                                 :
 KENNETH E. LAWRENCE JR., Chair of the :
 Montgomery County Board of Elections and Vice :
 Chair of the Montgomery County Board of :
 Commissioners, in his official capacity, et al. :
                                                 :
                                Defendants.



                                  NOTICE OF HEARING

       AND NOW, this 3rd day of November 2020, it is hereby ORDERED and DECREED that

a an emergency hearing shall take place on the 4th day of November 2020 on Plaintiffs’ Motion

for a Temporary Restraining Order, at 9 a.m. at 601 Market Street, Philadelphia, PA 19106.

                                                     Respectfully Submitted,

                                                     DILLON, MCCANDLESS, KING,
                                                     COULTER & GRAHAM, LLP

Dated: November 3, 2020                              By: /s/ Thomas E. Breth
                                                             Thomas E. Breth
                                                             Jordan P. Shuber
